S¢ANNED A‘f P;:JEKNEY\‘|:.LE 66 and E-m'.\ilc.»i

 

by l- »
tim initials Nf=-
UNITED STATES DISTRICT COURT
for the
Southem District of ll|.inois

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.__M..- _____,_»._____W._ __ _ _ _ _ _._._ ____.__.,-

--...____.-_-___.__M__.._

Prmhmv¢miqm{s) [B’ CIVIL RIGH'I`S COMPLAINT

)
)
}
)
v. § pursuant to 42 U.S.C. §1983 (S£ate Prisoner)
,__ ` 1 h Q ) D CML RIGH'I`S COMPLAH\IT
il ]C _ § _ ) pursuant to 28 U.S.C. §1331 {Federal Prisoner}
»Md] §:Q, ) UCIVT[.COWLA[NT
____ ___ ) pursuant to the Federal Tort Clai.m.s Act,

h 23 u,s.c. §§1345, 2671 -2630, cr other law

W_…BQQDELA_IQQTQJ\ Casewumber: {'7 13b § .. be H

(Clerk’s Ofiice will provide)

 

Defendmz!/R:spondmr{s)

l, ]URIS DICTION

Plaintiff:

A. Plaintiff’s mailing address, register nu.mber,_ and present place of
confinement §{}BDM§ ?TAMTOU
` b
P. 0 301 c\‘il'q
ch\w£‘l\iic\\a; ll 6le

Defendant #1:

B. Defendant l ` md c ` ` is employed as
[a} (Name of First Defendant)

CoR'r'b Ti‘.o R ' ‘E\

(l‘csitiou/ Tide)

}
with Clj 1113 mg¢_~,;, g g .Q, , B§rg_gur l QEEBBI' noel mgmg§gp,
{c} [Employer's Name and Address}

At the time the claim(s) alleged this complaint arose, was Defendant #1
employed by the state, local, or federal government? [!”Yes ij No

 

_________

 

-___.______

l'f your answer is Y`ES, briefl ex Iaj.n: DEF£§.JBRLH \ » 13 RL\
IM`YE\KMAT:QMAL tron ama mm oP£RRTES 115
ne mean oF TH& \-`ai)sp.q\_ eeuep.nmam
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RQr:-,;:p:cem' oF \-`aoa%n\. Goueaum€m SnE>S;cba&

uaw ?;2910) 1

 

 

` #2
Case 3'17-cV-00365-N.]R-DGW Document 1 Fl|ed 04/07/17 Page 2 of 21 Page |D

Defendank #2:

C. Defendzmt [`BBQI\E.Q\ §§ S\EB[] C¢D, isemployed as

[Name of Second Defendant)

%‘re\:& (boe) Crlre 5&\>~150%

[`Posil'io n/ Title)

pmqu o cream me Su:\~a dyer

(Employer's Name and Address)

choo &o, I\\mo'rg double

 

At the lime the claim(s) alleged in this complaint arose, was Defendant #2
employed by the state, local, or federal govemment? €H<r'es lj No

lf you answer is YES, briefly explain:

Additional Defendant(s} (if any}:

D. Using the outline set forth above, identify any additional Defendemt(s).

{ilev. ;»'/'zulr_l) 2

 

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lI. [’REVI()US LAWSUITS

A.

L'Re'.'. ;»',»'zow}

l-{ave you begun any other lawsuits in slate or federal court relating to
your imprisonment? C] Yes EB'No

if your answer to "A” is Y`ES, describe each lawsuit in the space below, if

there is more than one lawsu.it, you must describe the additional lawsuits
on another sheet of paper using the same outline Fa'

rlu;e to comply with
this provision may result in summary denial of your complaint

l. Parties to previous lawsuits
Pla intiff(s]: /\|` /A
Defenda.nt(s):

2. Court (if federal court, name of die district il state court, name of
the county):

3. Docket number:

4. Name of fudge to whom case was assigned:

5. 'l'ype of case (for example: Was it a habeas corpus or civil rights
action?):

6. Disposit:ion of case (for example: Was the case dismissed? Was it

appealed? ls it still pending?):

7. Appro><ima|:e date of filing lawsuit

N|r\

8. Approximate date of disposition

 

` #4
Case 3'17-cV-00365-N.]R-DGW Document 1 Fl|ed 04/07/17 Page 4 of 21 Page |D

lll. GIUEVANCE PROCEDURE

A.

B.

[Rev. 7{2[]`1\}}

Did you present the facts rela '
grievance procedure?

lf your answer is YES,
1. Whatsteps did you lake?

2. What was the result? N} A

if your answer is NO, explain why not

if there is no prisoner grievance procedure in the institution, did you
complain to prison authorities? CI Yes |B'l\lo

l.£ your answer is YES,
1. What steps did you take?

2. What was the result?

if your answer is NO, explain why not \R\Ll SUI`\` UA.\ RE,)_l-‘\T€D “'|"O
ImPaL%oum%M"\'

Attach copies of your request for an administrative remedy and any
response you received lf you cannot do so, explain why not

 

Case 3:17-cV-00365-N.]R-DGW Document 1 Filed 04/07/17 Page 5 of 21 Page |D #5

l'V. STATEMENT OF CLAIM

A.

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[`Rev. 7/2010)

U'l

 

 

 

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_v. REQUEST FOR RELIEF

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VI. ]'URY DEMAND {d:eck one box befow)

The plaintiff fg'does ['_I does not request a trial by jury.

DECLA.RAT.ION UNDER FEDERAL RULE OF CI'VIL PRO('_`EDURE 11

Icertify to the best of my knowledge, information and belief that this complaint is in full
compliance with Rule 11(a) and ll(b) of the Federal Rules of Civil Proccd ure. 'Hie
undersigned also recognizes that failure to comply with Rule ll may result in sanctions.

Signed on:_B'Wix-\ 5; 19 n _ _H _`_ ` ..
(date:) Signatur fPlaintiff
Strect Address Prin d Namc

&QCB@MM _ '**=Bbwa

City, State, Zip Prisoner Register Number

 

_ Signaturc ofAttorney (ifany)

qR@v. 7/2010} 6

 

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Ex!+l&i`f` 550

 

 

MBSSBC Menwrla| 1013/2010 mem vehicle ORIGINAL
Massac Amb Ser Run Report 5138°2 mdth "
Vehide ID 513802 A m `l` ri:i U l 0038?510 1
en_ ; him nmspe ng n t Arr.11me: 8:24
_. _ ........ .._ g Page 2 of 2

Fina| Assessment:

Timc: 8.'39 R}': 06010?489 CCS: 15 RTS: 12 S¢\reri¢y: 2

gley_: C-pen now n Brealhlog: Norma.| Circula¢ivn Sn'ong Radial Pulse LOC: Ale¢t & Olimledx 3

Head: Wit.hin Nerrnal L.imiu: Bzck: Widlin No¢mal ‘L.irnits L¢h Pupil: PERRL

one: W`ulrin Nr>rm:¢l l.imirs Abdomen: Within Nmml Limi;s Rigl\t Pupll: PERRL

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Neck: Wir.hin Nomiel La'miu.' F.xt. Upper Wicb.in Nomul Limils nght I.,u.og: C|ear

(lhesr.: th'm Nn¢mal I.imils Exr. Lewer Wilhin Normal Limits Biood Sugar: 155

Skin Coior: Normal.-"Pin|c Sl\‘in Moisturn: Norma] Skio Temp: Nomza]

History of UJiei` Complaint:

Called co Baymom Inn for a person having difficulty breathing Upou arrival, found patient sitting uprighi in chain Pacient was in
moderate respiratory distress. Patient stated his breathing difficulty started al approximately 7 am this morning. Paticnl assisted to
ambulance slrelcher. Pai.ieuc denied any history of respiraiery illness. Paciem positioned sitting upright en scretcher. Paciem
secured lo ambulance sirelcbea' with three sca$elcs. Pacieni alert and oriented X 3. Vicai signs taken .Pulsc oximetcr reading was
90% on room eir. Paticnt placed on 15 liters of oxygen via non-rebrealhcr. Patienl placed on cardiac monitor. Cardiac monitor
showed a sinus taehycardia rhy!hm. W of normal saline established in left AC with 18 gauge cannula al a 'I`KO rale. Patiem had
whee'r.ing in all lung fields. Pntient given albutcrol breaching creatment. Mcdical control contacted No orders givcn. Palient
transported to Massac Memorial liospital per patient request. Palient stated relief from breathing difficulty with albuteroi
treatman and oxygen Patient pulse oximeter reading was 98% during Lransport. Patient stated he had congheci up yellow mucous
when breathing difi'!cully started Patienl moved from ambulance stretche\‘ to emergency room bed without assistance Patient care
taken over by emergency room nurse.

 

 

 

 

 

  

 

Frl».‘l'ic w u.SA

   

Carl Cross _ _" w R lason Websler

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Case 3:17-cV-00365-N.]R-DGW Document 1 Filed 04/07/17 Page 8 of 21 Page |D #8

@Xei errng

MASSAC MEMORIAL HDSPITAL
28 CHICK STREET
METRQPOL¢S. ILLINOIS 62960
RAD|OLOGY DEPARTMENT
PATIENT NAME:' Stanton, Rodney
DoB: 03{02/1965

PLACE OF SERVICB: Emargency Room
DATE OF SERVI¢E: 10/03/2010

AGE: 45y

X~RAY #: 58135

PH'ISICIAN: aaron Baucom, l No Do¢:tor,
EXAMINATION: CHBST 2 VIEWS

chNIcAL HIstY: son
Exarn: Two-view <:hes'cl

HlSTORY: Shortness of breath. Cough.
No comparisons

FIND|NGS: PA and lateral views of me chest Diffuse interstitial prominence is seen. There are
bilateral perinilar inliltrates. Opacity seen in the right lung base which may be due to the
atelectasis or edema. Pneumonis is not excluded. The lungs are hyperexpanded. There are
clips at the GEjunction.

lmpresslen: Diffuse interstitial prominence Focal increased air space disease is seen in the right
base which may be due to ateiedasis. Pneumcnia is net excluded Reccmmend follow-up.

*** THIS 18 AN EIECTRUNXCALLY vEBIFIED REPORT ***
James Borders, M.D.
mIOLOGIsT

D: 10/03!2010 10:10:00 AM

T: 10/03/2010 10:10:00 md

JJB&BORDERS&JAMESMZMO1003101100

Case 3:17-cV-00365-N.]R-DGW Document 1 Filed 04/07/17 Page 9 of 21 Page |D #9

Report Viewer

 

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powered vy: AM!CAS

Narne: STANTON,
RODNE¥

Accession: 1010030167

MRN: MMH-58135
Study Date & Time:

§XH_`@(TC&¥> Page l nfl

DOB: 1965»03-02 Sex:

Description: CHEST 2

10103!201009:14:38 VIEWS
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Trenscriptionlst: BGRDSRS, JAMES {JJB}
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Exar ?wo"view chest.
HZSTORY: Shortness cf breath. Cougn.

No comparisons.

FIFDINGS:
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sxcluded. The lungs are hyperexpended,
Impression: Diffuse
is seen in the right
excludad. Recommend

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?A and lateral views of the chest.
There are bilateral pe:ihil&r infiltrates.
lung ha s which may be due to the scelectasis er edema.
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due to

Diffuse interstitial prominence is
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Pneumonia 15 nos
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pace disease

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Aliernative Care Recommended: *

* RECEN'I' INTAKE- PATIEN'I‘ W/ C/O CP X 2 DAYS PER WEX- DUE FOR AIC‘D "_`___

_ CHECK mm SEEN BY CAR_DIOLGGY 1/27/15 POR EVAL AND AICD CHECF - _---~

__ RECEIVED REFE:RRAL REQUES'I' FOR ECHo~ DISCUSSED IN COLLEc-:IAL ~_~_e__
02/02/2015 w/ DR RITZ AND DR POwERs - RECOMENDED SI‘I'E REPRESENT IN
COLLEGIAL w/ DIC'I'ATED CARDIOLL§£ NOTE FROM 1/27/15 v

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

The offender has the right to appeal any adverse decisions ihrough ihs grievance preced_ire outlined in 20 ill
Aclm Code 504: Subpart F.

  
 
  

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Case 3'17-cV-00365-N.]R-DGW Document 1 Fl|ed 04/07/17 Page 11 of 21 Page |D #

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. |LL¢NOI$ DEFARTMENTOF CGFIRE¢T!ON$
Medlcal Special Servlce Referral Denial or Revision

Offender"s i\'err.e.' 105 5 §§ §§ §§

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Alternative Care Recornrnended:
_ PATIEN`T W/ C/O CP X 2 DAYS PER WEX- DUE.' FOR AICD CHECK AND SEEN BY

 

__ CARDIOLOGY 1/27/15 FOR EVAL AND AICD CHECK - RECEIVED REFERRAL _ _ _
REQUEST ABI'S W/ DOPPLERS - DISCUSSED IN COLLEGIAL W/ DR POWERS AND

_ DR RITZ - REQUESTED SITE REPRESENT IN COLLEGIAL W/ 'I’HE DICTATED

‘ NO’I'E FROM TI-IE lf27/].5`CARDISLO_QY` VISIT ___'*_*_‘

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

`i'he offender has the right lo appeal any adverse decisions through lme grievance procedure outlined in 20 iii
Adrn. Code 504: Subpsrt F.

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Case 3:17-cV-00365-N.]R-DGW Document 1 Filed 04/07/17 Page 12 of 21 Page |D #12
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lLLlNols DEPAR'mENr oF Conn£c'rlons
Medlcal Specia| Service Referral Denial or Revision

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Referral E)?F:J;L/g />/

 

 

 

 

 

 

 

 

 

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A|ternative Care Recornmended: .-.. §§ 0 p/i C\Q ' Y 9 f;“%’ ' <_ }~./(_C L.
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._.The offender has the right to_appee| any adverse decisions_through the grievance procedure out|i d in 20 lll_

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Dlslribuhon; Offender. Offender's Medical File. and
Heath Cere Unil Administrator

 

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Case 3:17-cV-00365-N.]R-DGW Document 1 Filed 04/07/17 Page 13 of 21 Page |D #13
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Offender Outpatier\t Progress Notes

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311 N. Aberdeer\ St.. 3rd F|oor, Chicago, |ll|r\ois 60607

June 9, 2016

CONFIDENTIAL LEGAL CORRESPONDENCE
Vr`a U,S. Mm'r‘
Rodney Stanton 865-491
Pinckneyville Correctional Center
P.O. Box 1)99
Pinekncyville, IL 622'}'4
Rc: Yotr)' request for legal repr'c'.s‘r.’rlm!ion

To Rodncy Stanton:

This letter is to inform you that after reviewing your file, we are unfonunateiy unable to
lake your ease.

Please be advised that there are time limitations that govern thc period in which a claim
or lawsuit may be tiled. Such time periods depend on the cause of action you may wish to
pursi.rel Howcver, we encourage you to follow up with other attorneys immediately to ensure
that all legal rights are fully explored and protected

We appreciate your decision to contact us, and wish you the best oi`luck in pursuing your
ciairns.

Sincercl _\'.

Loevy & Loevy

WWW . LO EVY. CO M main 312.243.5900 l FBX 312.245.5902

 

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Gori julian

& ASSOCIATES, P.C_

March 23, 2016
.SY:`:\"`T` VIA REGUI.AR MA}L

Mr. Rodney Stanton
Reg. No. #365491

P.O. Bo'x 999
Pinckneyville, lL 622`?4

I.¢EGAI., MAIL

RE: Toxic Tort Claim
Stanton v. Honeywell Corp., et al., Case No. 15-ev-1223

l)ear Mr. Stanton:

'l`hanl< you for giving us the opportunity to evaluate your potential case. Please be advised that
Ms. I,auren 13an no longer works at our tinn. After reviewing the information you provided, we regret
to inl`onu you that Gori _¥ulian & Assoeiates, P.C. will not be able to represent you at this time. 011
behalf of Gori julian & Assoc-iates_. P.C. we have closed your tile and the attorney-client relationship
has ended.

We are only giving you the opinion of our law firm. Wc do not consider our opinion as final
and absolute on the manner. li` you wish to seek a second opinion, we urge you to do so as soon as
possibic. Each state prescribes a statute of limitations applicable to these claims Fl`he statute of
limitations defines the period within which a lawsuit must be ti!ed, or the claim can be pennanently
barred. As sueh, time is of the essence

'I`hank you so much for giving us the opportunity to review your potential c}airn. If` you have

any questions._ feel free to contact our office
nwm yM

D. Todd Malhews

 

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Chicago Lawyers’ Committee
for Civil Rights Under Law, |nc.

Chlcagc’s Partnersh!p for Equal justice

 

March 28, 2016

Mr. Rodney Stanton, #B-6549l
Pinclcneyville Correctional Center
5835 State Route 154

P.O. Box 999

Pinckneyville, IL 62274

Re; Request for legal Assistance
Dear Mr. Stanton:

The work oi" the Chi cage Lawyers’ Comrnittee is largely restricted to litigation
addressing civil rights violations in hate crimes, employment and housing discrimination lt

follows that your case is not one in which we would normally become involved.

l hope that our determination does not deter you from seeking assistance elsewhere
Good luck in your efforts to resolve your problem.

Elesha Jackson
Ott'lce Manager

100 North LaSalle Street. Suite 606 Cl'licago, illinois 50602 312.630.9744 {voice] 312.630.112`?{fax} vww.cfccrul.org

 

 

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l hereby certify that on , I electronically filed

document(s) to the following non-registered participants

Respec tfully submitted,

 

 

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Attorney bar number (lfa_p_elzrah!e}

 

